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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                    )
                                                    )
  COMMODITY FUTURES TRADING                         )    Case No.: 1:20-cv-21887-GAYLES
  COMMISSION,                                       )
                                                    )
                      Plaintiff,                    )
                                                    )
  v.
                                                    )
                                                    )
  DANIEL FINGERHUT, DIGITAL
                                                    )
  PLATINUM, INC., DIGITAL
                                                    )
  PLATINUM, LTD., HUF MEDIYA
                                                    )
  (a.k.a HOOF MEDIA LTD.), TAL
                                                    )
  VALAROLA, and ITAY BARAK,
                                                    )
                                                    )
                      Defendants,
                                                    )
                                                    )
  AICEL CARBONERO,
                                                    )
                                                    )
                      Relief Defendant.             )
                                                    )

                             MOTION FOR ENTRY OF DEFAULT

  To: The Clerk of the United States District Court for the Southern District of Florida:

         Plaintiff United States Commodity Futures Trading Commission (“Commission”), by and

  through its attorneys, requests that the clerk of court enter default against Defendant Digital

  Platinum, Inc., pursuant to Federal Rule of Civil Procedure 55(a) in the above-captioned matter

  for failure to answer, plead, or otherwise defend in a timely manner. In support of this request,

  the Commission relies upon the record in this case noting the Defendant was served on May 11,

  2020 and no response has been received.
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  Dated: July 28, 2020                   Respectfully submitted,

                                         ATTORNEYS FOR PLAINTIFF
                                         COMMODITY FUTURES TRADING
                                         COMMISSION
                                         525 West Monroe Street, Suite 1100
                                         Chicago, Illinois 60661
                                         (312) 596-0714 facsimile
                                         (312) 596-0700

                                         /s/ Allison V. Passman
                                         Allison V. Passman
                                         Chief Trial Attorney
                                         Special Bar ID #A5502489
                                         apassman@cftc.gov

                                         Candice Haan
                                         Trial Attorney
                                         Special Bar ID #A5502564
                                         chaan@cftc.gov
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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney with Plaintiff Commodity Futures Trading Commission,
hereby certifies that a true and accurate copy of Plaintiff’s MOTION FOR ENTRY OF DEFAULT
was served on all counsel of record via the CM/ECF system, and to the registered agent of Digital
Platinum, Inc. as noted below.

Digital Platinum, Inc.
c/o Jay Passerino (registered agent) (jay.passerino@gmail.com)
Email delivered June 27, 2020


Dated: July 28, 2020                               Respectfully submitted,


                                                   /s/ Allison V. Passman
                                                   Chief Trial Attorney
                                                   ONE OF THE ATTORNEYS FOR
                                                   PLATINIFF COMMODITY
                                                   FUTURES TRADING
                                                   COMMISSION
